                  Case 1:20-cr-00175-ADA-BAM Document 65 Filed 10/13/20 Page 1 of 3
AO 199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release                                     Page 1 of   3   Pages



                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                 Eastern District of California

UNITED STATES OF AMERICA,
                                                                          )
                              v.                                          )
                                                                          )             Case No.   1:20-cr-00175 DAD BAM
LORENA RAMIREZ                                                            )


                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:                           United States District Courthouse
                                                                                       Place
                                                           2500 Tulare Street, Fresno CA 93721

      on                October 28, 2020 at 1:00 p.m. Courtroom 8, before Magistrate Judge Barbara A. McAuliffe
                                                                              Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered.




      Delayed Release until Wednesday, October 14, 2020 @ 9:00am
Case 1:20-cr-00175-ADA-BAM Document 65 Filed 10/13/20 Page 2 of 3
    Case 1:20-cr-00175-ADA-BAM Document 65 Filed 10/13/20 Page 3 of 3




10/13/2020


                              United States Magistrate Judge, Sheila K. Oberto
